23-30242-hcm Doc#1 Filed 03/14/23 Entered 03/14/23 19:01:30 Main Document Pg 1 of 26
23-30242-hcm Doc#1 Filed 03/14/23 Entered 03/14/23 19:01:30 Main Document Pg 2 of 26
23-30242-hcm Doc#1 Filed 03/14/23 Entered 03/14/23 19:01:30 Main Document Pg 3 of 26
23-30242-hcm Doc#1 Filed 03/14/23 Entered 03/14/23 19:01:30 Main Document Pg 4 of 26
23-30242-hcm Doc#1 Filed 03/14/23 Entered 03/14/23 19:01:30 Main Document Pg 5 of 26
23-30242-hcm Doc#1 Filed 03/14/23 Entered 03/14/23 19:01:30 Main Document Pg 6 of 26
23-30242-hcm Doc#1 Filed 03/14/23 Entered 03/14/23 19:01:30 Main Document Pg 7 of 26
23-30242-hcm Doc#1 Filed 03/14/23 Entered 03/14/23 19:01:30 Main Document Pg 8 of 26
23-30242-hcm Doc#1 Filed 03/14/23 Entered 03/14/23 19:01:30 Main Document Pg 9 of 26
23-30242-hcm Doc#1 Filed 03/14/23 Entered 03/14/23 19:01:30 Main Document Pg 10 of
                                        26
23-30242-hcm Doc#1 Filed 03/14/23 Entered 03/14/23 19:01:30 Main Document Pg 11 of
                                        26
23-30242-hcm Doc#1 Filed 03/14/23 Entered 03/14/23 19:01:30 Main Document Pg 12 of
                                        26
23-30242-hcm Doc#1 Filed 03/14/23 Entered 03/14/23 19:01:30 Main Document Pg 13 of
                                        26
23-30242-hcm Doc#1 Filed 03/14/23 Entered 03/14/23 19:01:30 Main Document Pg 14 of
                                        26
23-30242-hcm Doc#1 Filed 03/14/23 Entered 03/14/23 19:01:30 Main Document Pg 15 of
                                        26
23-30242-hcm Doc#1 Filed 03/14/23 Entered 03/14/23 19:01:30 Main Document Pg 16 of
                                        26
23-30242-hcm Doc#1 Filed 03/14/23 Entered 03/14/23 19:01:30 Main Document Pg 17 of
                                        26
23-30242-hcm Doc#1 Filed 03/14/23 Entered 03/14/23 19:01:30 Main Document Pg 18 of
                                        26
23-30242-hcm Doc#1 Filed 03/14/23 Entered 03/14/23 19:01:30 Main Document Pg 19 of
                                        26
23-30242-hcm Doc#1 Filed 03/14/23 Entered 03/14/23 19:01:30 Main Document Pg 20 of
                                        26
23-30242-hcm Doc#1 Filed 03/14/23 Entered 03/14/23 19:01:30 Main Document Pg 21 of
                                        26
23-30242-hcm Doc#1 Filed 03/14/23 Entered 03/14/23 19:01:30 Main Document Pg 22 of
                                        26
23-30242-hcm Doc#1 Filed 03/14/23 Entered 03/14/23 19:01:30 Main Document Pg 23 of
                                        26
23-30242-hcm Doc#1 Filed 03/14/23 Entered 03/14/23 19:01:30 Main Document Pg 24 of
                                        26
23-30242-hcm Doc#1 Filed 03/14/23 Entered 03/14/23 19:01:30 Main Document Pg 25 of
                                        26
23-30242-hcm Doc#1 Filed 03/14/23 Entered 03/14/23 19:01:30 Main Document Pg 26 of
                                        26
